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 9    City of El Cajon and Richard Gonsalves
10                       UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12    RICHARD OLANGO ABUKA, an                 Case No.: 3:17-cv-00089-BAS-NLS
      individual,                                        consolidated with Case No:
13                                                       3:17-cv-00347-BAS-NLS)
                   Plaintiff,
14                                             MEMORANDUM OF POINTS AND
              v.                               AUTHORITIES IN SUPPORT OF
15                                             DEFENDANTS CITY OF EL CAJON
      CITY OF EL CAJON, RICHARD                AND RICHARD GONSALVES’
16    GONSALVES and DOES 1-10,                 MOTION FOR SUMMARY
      Inclusive,                               JUDGMENT
17
                   Defendants.                 Date: November 5, 2018
18
                                               NO ORAL ARGUMENT UNLESS
19    AND ALL RELATED ACTIONS.                 REQUESTED BY COURT
20                                             Courtroom: 4B
                                               Judge:     Hon. Cynthia Bashant
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 1                                            I.1
 2                                   INTRODUCTION
 3         The public often forgets or ignores that police officers, every day, face a
 4   "dangerous and complex world." Smith v. Freland, 954 F.2d 343, 347 (6th Cir.
 5   1992). "Every day of the year, law enforcement officers leave their homes to
 6   police, protect, and serve their communities. Unlike most employees in the
 7   workforce, peace officers carry firearms because their occupation requires them
 8   on occasion to confront people who have no respect either for the officers or for
 9   the law." Gonzalez v. City of Anaheim, 747 F.3d 789, 799 (9th Cir. 2014) (Trott,
10   J., dissenting in part and concurring in part). "By asking police to serve and
11   protect us, we citizens agree to comply with their instructions and cooperate with
12   their investigations. Unfortunately, not all of us hold up our end of the bargain.
13   As a result, officers face an ever-present risk that routine police work will
14   suddenly become dangerous." Mattos v. Agarano, 661 F.3d 433, 453 (9th Cir.
15   2011) (en banc) (Kozinski, C.J., concurring in part and dissenting in part).
16   Indeed, "[p]olice officers are often forced to make split-second judgments, in
17   circumstances that are tense, uncertain, and rapidly evolving - about the amount
18   of force that is necessary in a particular situation." Graham v. Connor, 490 U.S.
19   386, 397 (1989). This case epitomizes these often ignored or forgotten truths.
20         On September 27, 2016, Alfred Olango - acting erratically and ignoring
21   repeated orders to simply remove his right hand from his front right pant pocket -
22   was shot and killed by El Cajon Police Officer Richard Gonsalves after Olango
23   placed Gonsalves in imminent fear for his life by suddenly producing an object
24   from his pocket resembling a gun, and with both hands together in a classic
25   "shooting stance" pointed it directly at Gonsalves:
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      The Court extended the page limit for this motion to 40 pages. No. 17-cv-
28   00089, Doc. No. 47.
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                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
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11   The object Olango removed from his pocket and pointed directly at Gonsalves
12   was a gun shaped "vape" with a metal barrel:
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                                                    3:17-cv-0089-BAS-NLS (consolidated with
                                                    Case No. 3:17-cv-00347-BAS-NLS)
 1         There is no dispute about what happened. The incident is on video. And it
 2   shows Olango very quickly removing his right hand from his right pocket,
 3   joining it together with his left hand while simultaneously extending his arms
 4   outward, getting into a "shooting stance", and pointing an object with a barrel at
 5   Gonsalves.2 Exh. C, Video 1.1 (00:00-00:15); Video 1.2 (00:35-00:38); Video
 6   1.3 (00:35-00:380); Video 2.1 (14:09:52-14:09:54). When slowed down and
 7   enlarged, the video actually shows Olango mimicking the recoil of a gun. Exh.
 8   C, Video 1.2 (00:35-00:38); Video 1.3 (00:35-00:38). It also shows Gonsalves
 9   ducking, a reflexive action confirming Gonsalves believed he was going to be
10   shot. Id. Although Olango's death is unfortunate, Gonsalves' use of deadly force
11   was constitutional.
12         This consolidated action involves a lawsuit brought by Olango's wife and
13   children (collectively "Rozier") and one brought by Olango's father, Richard
14   Abuka. No. 17-cv-00347, Doc. Nos. 5, 24; No. 17-cv-00089, Doc. No. 6.
15   Rozier alleges a 42 U.S.C. section 1983 claim on Olango's behalf against
16   Gonsalves for seizures in violation of the Fourth Amendment. No. 17-cv-00347,
17   Doc. No. 5, pp. 9-13. Against the City, Rozier alleges on Olango's behalf a
18   section 1983 municipal liability claim under Monell v. Department of Social
19   Services, 436 U.S. 658, 694 (1978), based on inadequate training. No. 17-cv-
20   00347, Doc. No. 5, pp. 13-19.3
21         Abuka asserts in his own capacity two section 1983 causes of action
22   against Gonsalves for violating his Fourteenth Amendment right to familial
23

24   2
      Exhibit C is a DVD containing four videos and still frames. In the “Los
25   Panchos Surveillance” folder is a single video containing raw video footage from
     a surveillance camera. In the “Cell Phone Video” folder are three videos.
26   “Video 1.1” is a cell phone video taken by a witness, with some enhancements to
     the video. “Video 1.2” and “Video 1.3” are portions of Video 1.1 that have been
27   scaled and slowed down. See Sutherland Decl.; Gonsalves Decl.

28
     This Court dismissed Rozier's state law wrongful death causes of action on
     3

     May 18, 2018 and September 5, 2018. No. 17-cv-00089, Doc. Nos. 50, 52.
                                             3
                                                    3:17-cv-0089-BAS-NLS (consolidated with
                                                    Case No. 3:17-cv-00347-BAS-NLS)
 1   association with Olango, which Abuka alleges was caused by the "unjustified"
 2   and "excessive force" Gonsalves used against Olango, as well as Gonsalves'
 3   failure to provide medical care to Olango after Olango was shot.4 No. 17-cv-
 4   00089, Doc. No. 6, pp. 8-11.
 5         As to Rozier's section 1983 claims, Gonsalves is entitled to qualified
 6   immunity because he reasonably believed – a belief confirmed by video evidence
 7   and witness testimony – that he needed to eliminate an imminent and very
 8   serious threat posed by Olango. Thus, Gonsalves' use of deadly force was
 9   objectively reasonable and, accordingly, no Fourth Amendment violation exists.
10   Moreover, no clearly established law existed in September 2016 putting all
11   reasonable officers on notice that using deadly force under the specific facts of
12   this case would violate the Fourth Amendment. And since no Fourth
13   Amendment violation exists, the City cannot be liable under Monell and Rozier
14   cannot otherwise establish a failure to train claim.
15         As to Abuka's section 1983 claims, Gonsalves is entitled to qualified
16   immunity because there was no violation of Olango's Fourth Amendment rights
17   and, notwithstanding, Gonsalves did not engage in "conscience shocking"
18   conduct because he did not shoot Olango with a purpose to harm unrelated to a
19   legitimate law enforcement objective. Gonsalves' use of deadly force was solely
20   for self protection, which is a legitimate law enforcement objective. Further, no
21   clearly established law existed in September 2016 putting all reasonable officers
22   on notice that using deadly force under the specific facts of this case would
23   violate a family member's Fourteenth Amendment rights.
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      Abuka had alleged a Monell claim, but he never amended his complaint after
     this Court granted the City's motion to dismiss. No. 17-cv-00089, Doc. No. 34.
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                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1                                            II.
 2                      SUMMARY JUDGMENT STANDARDS
 3         A moving party is entitled to summary judgment upon demonstrating the
 4   absence of a genuine issue of material fact and entitlement to judgment as a
 5   matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322
 6   (1986). "When the nonmoving party has the burden of proof at trial, the moving
 7   party need only point out 'that there is an absence of evidence to support the
 8   nonmoving party's case.' [Citation]." Devereaux v. Abbey, 263 F.3d 1070, 1076
 9   (9th Cir. 2001) (en banc); see Fairbank v. Wunderman Cato Johnson, 212 F.3d
10   528, 532 (9th Cir. 2000) ("[A] moving defendant may shift the burden of
11   producing evidence to the nonmoving plaintiff merely by 'showing'-that is,
12   pointing out through argument-the absence of evidence to support plaintiff's
13   claim.") In ruling on a defendant's summary judgment motion, the court views
14   the facts in the light most favorable to the nonmoving party only if there is a
15   genuine dispute as to those facts. Scott v. Harris, 550 U.S. 372, 380 (2007). But
16   in cases dealing with an officer's use of force, the court cannot adopt plaintiff’s
17   version of facts if blatantly contradicted by a video (or other evidence). Id. at
18   380; Gregory v. County of Maui, 523 F.3d 1103, 1108 (9th Cir. 2008). Rather,
19   the court must "view[] the facts in the light depicted by the videotape." Scott,
20   550 U.S. at 380-381; Duclos v. Tillman, 2016 WL 8672917, at *2 (S.D. Cal.
21   Mar. 11, 2016) (Bashant, J.).
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                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1                                           III.
 2                               UNDISPUTED FACTS5
 3   A.    Pre-Video Contact With Olango
 4         Around 2:03 p.m. on September 27, 2016, Gonsalves and fellow officer
 5   Josh McDaniel got a dispatch call about a potentially mentally ill man acting
 6   strangely and walking into traffic (i.e., Olango). Gonsalves Decl., ¶ 3; McDaniel
 7   Decl., ¶ 4; Gonsalves Depo., pp. 43:22-44:11, attached as Exh. I; see Lanier
 8   Depo., pp. 12:16-14:25, 16:13-23, 50:6-52:2 (describing Olango running back
 9   and forth across street), attached as Exh. F; Carroll Depo., pp. 10:18-18:19, 20:3-
10   23, 32:23-33:21 (describing Olango in traffic and her fear of him), attached as
11   Exh. G; Olango Depo., pp. 107:16 -117:7 (describing Olango repeatedly crossing
12   the street and almost getting hit by cars), attached as Exh. H.
13         Around 2:08 p.m., Gonsalves arrived at Broadway and Mollison planning
14   to locate and talk to Olango. Gonsalves Decl., ¶ 3. Gonsalves was in full
15   uniform and driving a marked police car. Id. Gonsalves met McDaniel at a gas
16   station at the corner of Broadway and Mollison. Id.; McDaniel Decl., ¶¶ 4, 5.
17   Neither had seen Olango. Id. Olango's sister, Lucy, soon approached the
18   officers from across the street and McDaniel got out of his car to talk to her.
19   Gonsalves Decl., ¶ 5; McDaniel Decl., ¶ 5. Gonsalves remained in his car.
20   Gonsalves Decl., ¶ 5. Lucy said she last saw Olango on Broadway, west of
21   Mollison. Gonsalves Decl., ¶ 6; McDaniel Decl., ¶ 5. Gonsalves left to find
22   Olango. Gonsalves Decl., ¶ 6. McDaniel asked Lucy some questions about
23   Olango, then got back in his car and left to find Olango. McDaniel Decl., ¶ 5.
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      With the exception of Olango’s cocaine intoxication, the facts are taken from
     Gonsalves' declaration and deposition, the declaration and deposition of Officer
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     Josh McDaniel, videos of the incident, the deposition testimony of independent
     witnesses Lakenya Lanier, Melvin Roberts, Christine Carroll and Leone Ket, and
28
     the deposition of Olango's sister, Lucy Olango, taken in her state court action
     against Gonsalves and the City.
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                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1         Around 2:10 p.m., Gonsalves first observed Olango walking toward
 2   Broadway in a strip mall parking lot near a taco shop. Gonsalves Decl., ¶ 7.
 3   Gonsalves drove to the area, made eye contact with Olango, and then got out of
 4   his patrol car saying something to Olango like "Hey, I need to talk to you"" Id.
 5   Olango stopped about 15-20 feet from Gonsalves. Id. Gonsalves noticed a bulge
 6   in Olango's right front pocket and saw Olango put his right hand in the pocket.
 7   Id. at ¶ 8; see Lanier Depo., p. 23:4-8 (Olango's right hand in his pocket when
 8   Gonsalves exited his car). Using a calm, clear and non-stern voice, Gonsalves
 9   told Olango to remove his hand from his pocket. Gonsalves Decl., ¶ 9; Lanier
10   Depo., p. 25:14-24 (clear and calm commands by Gonsalves). Olango said
11   nothing and did not remove his hand. Gonsalves Decl. ¶ 9. Gonsalves' repeated
12   requests to Olango to remove his hand were more stern and louder. Id. Olango
13   refused to remove his hand, and repeatedly said "no." Id.; Lanier Depo., pp.
14   12:16-15:4, 16:13-23, 33:8-36:11. In case Olango was deaf or did not
15   understand English, Gonsalves several times imitated the motion of taking a
16   hand out of his own pocket as a visual cue to Olango. Gonsalves Decl. ¶ 9;
17   Gonsalves Depo., pp. 50:23-51:10, 53:6-9, 58:24-59:9. Keeping his hand in his
18   pocket, Olango backed away from Gonsalves. Id. Around 2:10:41, Gonsalves
19   broadcast locating Olango and advised Olango would not remove his hand from
20   his pocket. Gonsalves Decl., ¶ 8; Gonsalves Depo., pp. 46:4-11, 53:25-54:9;
21   Exh. A to Gonsalves Decl. (audio file “Recorded on 27-Sept-2016 at 14:10.19”);
22   Exh. B to Gonsalves and Cabana Decls., p. 2.
23         Based on Olango’s behavior, Gonsalves believed Olango was going to run
24   or fight. Gonsalves Decl., ¶ 10. Gonsalves also thought Olango might be under
25   the influence of narcotics. Gonsalves Depo., p. 98:20-25; see Lanier Depo., pp.
26   25:4-13, 27:20-29:25 (having bought and done drugs with Olango, she thought
27   he was “on drugs”). Because Gonsalves believed the bulge in Olango's pocket
28   was larger than a hand, coupled with the way Olango was moving and his refusal
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                                                    3:17-cv-0089-BAS-NLS (consolidated with
                                                    Case No. 3:17-cv-00347-BAS-NLS)
 1   to take his hand out of his pocket, Gonsalves thought Olango might have a gun in
 2   his pocket. Gonsalves Decl. ¶ 11; Gonsalves Depo., pp. 51:11-52:14, 74:2-20;
 3   see Lanier Depo., pp. 26:20-25, 47:20-48:6 (describing Olango's hand in his
 4   pocket as "bulky" which lead her to believe Olango had a weapon in his pocket).
 5   Gonsalves put his left hand on his holstered gun.6 Gonsalves Decl. ¶ 11. Olango
 6   moved away from Gonsalves in a purposeful manner, walking rapidly backward
 7   and sideways with his hand remaining in his pocket despite Gonsalves' repeated
 8   requests to remove it. Id.; Lanier Depo., pp. 12:16-15:4, 16:13-23, 33:8-36:11.
 9            Since Olango reportedly had been walking into traffic and was acting
10   erratically, Gonsalves was concerned for Olango's safety and the safety of
11   anyone in the area. Gonsalves Decl., ¶ 11; Gonsalves Depo., pp. 81:17-82:2.
12   Gonsalves did not want Olango running away and into traffic where Olango or
13   anyone else could get hurt. Gonsalves Decl., ¶ 11; see Lanier Depo., pp. 12:16-
14   14:25, 16:13-23, 50:6-52:2; Carroll Depo., pp. 10:18-18:19, 20:3-23, 32:23-
15   33:21. Nor did Gonsalves want Olango entering any of the businesses at the strip
16   mall, particularly since he had not yet talked to Olango, Olango still had his hand
17   in his pocket, and Gonsalves had yet to confirm that Olango was not armed.
18   Gonsalves Decl. ¶ 11. For the same reasons, Gonsalves was concerned for his
19   safety and the safety of others in the area. Id.; Gonsalves Depo., pp. 81:17-82:2.
20            Walking back and forth, while generally backing up, Olango walked himself
21   into an area of containment, toward a fence and parked cars. Gonsalves Decl., ¶
22   12; Lanier Depo., p. 52:3-20. Because Gonsalves could better control the situation
23   until McDaniel or other officers arrived if Olango was somewhat contained,
24   Gonsalves matched Olango's movements while repeatedly commanding Olango to
25   remove his hand from his pocket. Gonsalves Decl. ¶ 12; Gonsalves Depo., pp.
26   71:9-73:15, 82:4-83:2, 97:4-24; see Lanier Depo., pp. 12:16-15:15, 16:13-23,
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         Gonsalves was not carrying a Tazer. Gonsalves Decl., ¶ 3.
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                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1   33:8-36:11. While facing Gonsalves, Olango kept his hand in his pocket as he
 2   erratically moved backward and sideways. Gonsalves Decl. ¶ 12. Fearing for his
 3   safety, Gonsalves removed his gun but kept it along his left upper thigh. Id.;
 4   Gonsalves Depo., pp. 53:4-17, 72:7-25, 76:2-6; Exh. C, Video 2.1 (14:09:24)
 5         During the encounter, Gonsalves made at least two radio calls advising
 6   that Olango would not remove his hand from his pocket. Exh. A; Exh. B, p. 2.
 7   One time, Gonsalves allowed his command to Olango to be broadcast and heard
 8   by other officers. Gonsalves Decl., ¶ 12; McDaniel Decl., ¶ 6; Exh. A (audio file
 9   “Recorded on 27-Sept-2016 at 14:10:40”). Gonsalves knew that if other officers
10   heard him telling Olango to remove his hand it would be known that Olango was
11   being non-compliant. Gonsalves Decl., ¶ 12. Gonsalves did this because he did
12   not want to potentially make the situation worse if Olango saw or heard him
13   make a standard radio broadcast. Id.
14   B.    Video Footage
15         The rest of the encounter is captured on video. Gonsalves Decl., ¶ 14;
16   Exh. C to Gonsalves and Sutherland Decls., Videos 1.1, 1.2, 1.3, 2.1. Because
17   Olango's erratic behavior continued, his movements became more furtive, and
18   his hand remained in his pocket, Gonsalves moved his gun to a "compressed
19   ready" position with the gun pointed downward flat against his chest and
20   repeatedly commanded Olango to remove his hand from his pocket. Gonsalves
21   Decl., ¶ 15; Gonsalves Depo., pp. 76:7-9; Exh C, Video 2.1 (14:09:30); Lanier
22   Depo., pp. 12:16-15:19, 16:13-23, 24:18-25, 46:24-47:24; Roberts Depo., pp.
23   19:3-15, 49:14-23, attached as Exh. J (describing Olango as agitated). As the
24   video shows, McDaniel arrived just prior to the shooting and took a position to
25   the side of Olango. Exh. C, Video 2.1 (14:09:38). Because Gonsalves had his
26   gun drawn, McDaniel removed his Taser to provide an alternative less lethal
27   force option. McDaniel Decl., ¶ 7. McDaniel began moving closer to Olango so
28   he would be close enough to use the Taser if necessary. McDaniel Decl., ¶ 7;
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                                                   Case No. 3:17-cv-00347-BAS-NLS)
 1   Exh. C, Video 2.1 (14:09:52). Lucy Olango had suddenly appeared at the scene
 2   and was screaming behind Gonsalves, presumably at Olango. Gonsalves Decl., ¶
 3   15; Exh. C, Video 2.1 (14:09:52). Gonsalves, Lucy and a witness were all telling
 4   Olango to take his hand out of his pocket. Lanier Depo., pp. 12:16-15:23, 16:13-
 5   23, 24:18-25, 46:24-47:24; Olango Depo., pp. 133:8-135:5. Gonsalves was
 6   concerned with how close Lucy was to him, so he turned toward her and said
 7   "stay back" while pointing at her with his right arm/hand across his chest.
 8   Gonsalves Decl., ¶ 15; Gonsalves Depo., pp. 65:6-22, 86:3-87:18, 104:14-19;
 9   Exh. C, Video 1.2 (00:21-00:27), Video 1.3 (00:21-00:27). Olango was still
10   ignoring repeated commands to take his hand out of his pocket. McDaniel
11   Depo., pp. 70:23-71:14, 76:10-77:10, 86:14-18, 104:8-105:10, attached as Exh.
12   K; Ket Depo., pp. 20:1-13, 26:6-11, 62:1-13, attached as Exh. L.
13         As the video shows, and as Gonsalves, McDaniel and the witnesses
14   confirm, immediately after Gonsalves turned from addressing Lucy, Olango
15   finally, and very quickly, took his right hand out of his right pocket, joined it
16   together with his left hand, simultaneously put his body into a classic "shooter's
17   stance" and pointed an object with a metal barrel that he had removed from his
18   pocket directly at Gonsalves.7 Exh. C, Video 1.1 (00:00-00:15); Video 1.2
19   (00:32-00:39); Video 1.3 (00:32-00:39); Video 2.1 (14:09:49-14:09:56);
20   Gonsalves Decl., ¶¶ 16-17; McDaniel Decl., ¶ 9; Gonsalves Depo., pp. 13:17-23,
21   26:21-29:4, 38:6-12, 79:25-80:1, 89:24-93:4; McDaniel Depo., pp. 77:2-21,
22   84:24-85:3; Olango Depo., 135:2-138:3 and Depo. Exhs. 4, 5; Roberts Depo., pp.
23   23:2-28:17, 36:21-37:10, 41:16-23, 60:2-61:15; Lanier Depo., pp. 18:12-21:17,
24   23:15-24:5, 25:25-27:10; 36:12-39:14, 47:9-49:20, 61:25-62:7; Ket Depo., pp.
25   17:20-22:11, 58:9-60:11, 61:15-25, 67:14-69:1, 69:15-72:23. When this
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      One witness heard Olango yell "shoot me" and believed Olango was attempting
     "suicide by cop." Roberts Depo., pp, 19:3-22, 40:17-41:23. McDaniel heard
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     Olango say something like "fuck this", "fuck that", or "fuck it." McDaniel
     Depo., p. 77:2-12.
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 1   occurred, Gonsalves and Olango were less than 20 feet apart. Gonsalves Depo.,
 2   pp. 84:20-85:24.
 3         Seeing Olango in a “shooter stance,” and seeing a metal barrel in Olango's
 4   hands pointed at him, Gonsalves thought Olango had a gun (as did McDaniel and
 5   all the witnesses) and believed Olango was going to shoot him. Gonsalves Decl.,
 6   ¶ 17; Gonsalves Depo., pp. 13:17-23, 26:21-29:4, 38:6-12, 79:25-80:1, 89:24-
 7   93:4; McDaniel Decl., ¶ 9; McDaniel Depo., pp. 77:2-21, 84:24-85:3; Robert
 8   Depos., pp. 23:2-28:17, 36:21-37:10, 41:16-23, 60:2-61:15; Lanier Depo., pp.
 9   18:17-21:17, 23:15-24:5, 25:25-27:10; 36:12-39:14, 47:9-29:20, 61:25-62:7; Ket
10   Depo., pp. 17:20-22:11, 58:9-60:11, 61:15-25, 67:14-69:1, 69:15-72:23. In fact,
11   Olango mimicked the firing of a gun (i.e., recoil action) with his arms. Exh. C,
12   Video 1.2 (00:35-00:38); Video 1.3 (00:35-00:38). And Gonsalves actually first
13   ducks out of the way, and only then did Gonsalves shoot Olango. Id. At the
14   same time McDaniel thought Olango was going to shoot Gonsalves and deployed
15   his Taser, shocked at how fast Olango "drew" and "got the drop" on Gonsalves.
16   McDaniel Decl., ¶ 9. As shots were fired, McDaniel initially thought Olango
17   may have shot Gonsalves. Id. McDaniel fired the Taser at Olango hoping it
18   would stop Olango from shooting again. Id. Fearing for his life, Gonsalves shot
19   Olango four times in rapid succession and he stopped firing when he believed the
20   threat Olango posed had been eliminated. Gonsalves Decl., ¶ 17; Gonsalves
21   Depo., pp. 13:17-25, 26:21-29:14, 38:6-12, 79:25-80:1, 89:12-93:4. At no time
22   prior to the shooting did Olango ever remove his right hand from his pocket.
23   Exh. C, Videos 1.1, 1.2, 1.3, 2.1; Lanier Depo., pp. 23:4-24:5; Ket Depo., 17:20-
24   22:11. After the shooting, Gonsalves learned Olango had a “vape” in his hand
25   and not a gun. Gonsalves Depo., pp. 38:6-39:1.
26         Gonsalves immediately reported shots fired at 2:11:52. Gonsalves Decl., ¶
27   17; Exh. A (audio filed “Recorded on 27-Sept-2016 at 14:11.52); Exh. B, p. 2.
28   Having first contacted Olango at around 2:10:41, the time from Gonsalves' initial
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 1   contact with Olango to the shooting was about 70 seconds. Id. Immediately
 2   after shooting Olango, Gonsalves also requested medical care for Olango and
 3   paramedics arrived minutes later to treat Olango and transport him to the
 4   hospital. Gonsalves Decl., ¶¶ 17, 19; McDaniel Decl., ¶ 10; Exh. C, Video 1.2
 5   (01:07-01:41); Video 2.1 (14:15:30-14:21:40).
 6         Prior to this incident, Gonsalves never met, knew of, or saw Olango.
 7   Gonsalves Decl., ¶ 20. Before shooting Olango, Gonsalves was not upset or mad
 8   at Olango and harbored no ill will toward him. Id.
 9         A post-mortem toxicology test on Olango revealed levels of cocaine
10   metabolites consistent with Olango having recently consumed a toxic amount of
11   cocaine, and his behavior throughout the incident was consistent with cocaine
12   overdose. Toxicology Report, p.2, attached as Exh. Q to Notice of Lod.; Gellar
13   Report, pp. 32-38 attached as Exh. R to Notice of Lod.8
14                                          IV.
15       QUALIFIED IMMUNITY MANDATES SUMMARY JUDGMENT ON
           ROZIER'S AND ABUKA’S SECTION 1983 CLAIMS AGAINST
16                           GONSALVES
17         "[Q]ualified immunity is important to society as a whole and because as an
18   immunity from suit, qualified immunity is effectively lost if a case is erroneously
19   permitted to go to trial." White v. Pauly, 137 S. Ct. 548, 551 (2017) (per curiam)
20   (quotation marks and citations omitted). "Qualified immunity gives government
21   officials breathing room to make reasonable but mistaken judgments, and protects
22   all but the plainly incompetent or those who knowingly violate the law."
23   Messerschmidt v. Millender, 132 S.Ct. 1235, 1244 (2012) (quotation marks and
24   citations omitted). Qualified immunity protects law enforcement officers from
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26   8
      Evidence of Olango’s cocaine intoxication is relevant to explain his erratic
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     behavior and if there is a dispute about Olango’s conduct. Boyd v. City & Cty. of
     San Fransisco, 576 F.3d 938, 944 (9th Cir. 2009); see Castro v. Cty. of Los
28
     Angeles, 2015 WL 4694070, at *5-6 (discussing admissibility of intoxication
     evidence).
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 1   liability for "a mistake of law, a mistake of fact, or a mistake based on mixed
 2   questions of law and fact." Pearson v. Callahan, 555 U.S. 223, 231 (2009).
 3   "Courts engage in a two-pronged analysis to determine whether qualified
 4   immunity applies: '[O]fficers are entitled to qualified immunity under § 1983
 5   unless (1) they violated a federal statutory or constitutional right, and (2) the
 6   unlawfulness of their conduct was 'clearly established at the time.' " Easley v. City
 7   of Riverside, 890 F.3d 851, 856 (9th Cir. 2018) (quoting District of Columbia v.
 8   Wesby, 138 S.Ct. 577, 589 (2018). "A plaintiff must prove both steps of the inquiry
 9   to establish the officials are not entitled to immunity from the action." Felarca v.
10   Birgeneau, 891 F.3d. 809, 815 (9th Cir. 2018).
11         In qualified immunity's two-step analysis "the Court considers only the facts
12   that were knowable to the defendant." White, 137 S. Ct. at 550. The court first
13   determines whether a violation of a constitutional right occurred. Mattos v.
14   Agarano, 661 F.3d 443, 440 (9th Cir. 2011) (en banc). If not, qualified immunity
15   shields the officer from suit. If a constitutional violation did occur, the court next
16   determines whether the "constitutional right was clearly established in light of the
17   specific context of the case' at the time of the events in question" such that "its
18   contours were 'sufficiently clear' that every 'reasonable official would have
19   understood that what he is doing violates that right.' [Citation]." Id. at 440, 442.
20         "Qualified immunity attaches when an official's conduct does not violate
21   clearly established statutory or constitutional rights of which a reasonable person
22   would have known. While [the Supreme] Court's case law do[es] not require a
23   case directly on point for a right to be clearly established, existing precedent
24   must have placed the statutory or constitutional question beyond debate. In other
25   words, immunity protects all but the plainly incompetent or those who
26   knowingly violate the law." White, 137 S. Ct. at 551 (quotation marks and
27   citations omitted); Kisela v. Hughes, 138 S.Ct. 1148, 1152 (2018) (per curiam);
28   Wesby, 138 S.Ct. at 589-590. "[T]he fact-specific, highly contextualized nature
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                                                      3:17-cv-0089-BAS-NLS (consolidated with
                                                      Case No. 3:17-cv-00347-BAS-NLS)
 1   of the [clearly established] inquiry does not depend on which particular
 2   constitutional right a given plaintiff claims the officials have violated." Hamby
 3   v. Hammond, 821 F.3d 1085, 1091 (9th Cir. 2016).
 4         The Supreme Court has repeatedly said that "[c]learly established" law
 5   may not be generally defined using broad constitutional principles regarding the
 6   use of force. Kisela, 584 U.S. at 1153; Wesby, 138 S.Ct. at 590; White, 137 S.Ct.
 7   at 551-552; Mullenix v. Luna, 136 S.Ct. 305, 308 (2015) (per curiam); see
 8   Moonin v. Tice, 868 F.3d 853, 868 (9th Cir. 2017) ("Broad principles ordinarily
 9   cannot constitute clearly established law. Rather, clearly established law must be
10   particularized to the facts of the case.") (quotation marks and citation omitted).
11   Thus, to be clearly established, "existing precedent [must have] placed the
12   statutory or constitutional question beyond debate" under the "particularized' . . .
13   facts of the case" and in light of the "particular conduct" of the officer. White,
14   137 S.Ct. at 552; Wesby, 583 U.S. at 590. Because "qualified immunity protects
15   all but the plainly incompetent or those who knowingly violate the law", White,
16   137 S.Ct. at 551, "[a] clearly established right is one that is 'sufficiently clear that
17   every reasonable official would have understood that what he is doing violates
18   that right.'" Mullenix, 136 S. Ct. at 308 (emphasis added); see Felarca, 891 F.3d
19   at 816 ("The Supreme Court has repeatedly told courts ' not to define clearly
20   established law at a high level of generality.' [Citation]. The law must have been
21   clear enough that 'every reasonable official' would know he or she was violating
22   the plaintiff's rights. [Citations.]."); Thompson v. Rahr, 885 F.3d 582, 587 (9th
23   Cir. 2018); Morales v. Fry, 873 F.3d 817, 823 (9th Cir. 2017). As the Supreme
24   Court recently explained:
25                To be clearly established, a legal principle must have a
                  sufficiently clear foundation in then-existing precedent.
26                The rule must be 'settled law,' [citation], which means it
                  is dictated by 'controlling authority' or 'a robust
27                'consensus of cases of persuasive authority,' [citation]. It
                  is not enough that the rule is suggested by then-existing
28                precedent. The precedent must be clear enough that
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 1                every reasonable official would interpret it to establish
                  the particular rule the plaintiff seeks to apply. [Citation].
 2                Otherwise, the rule is not one that 'every reasonable
                  official' would know. [Citation].
 3

 4   Wesby, 138 S.Ct. at 589-590 (emphasis added). Accordingly, "[s]o long as
 5   existing case law 'did not preclude' an official from reasonably believing that his
 6   or her conduct was lawful, the official has a right to qualified immunity.
 7   [Citation]." Kramer v. Cullinan, 878 F.3d 1156, 1163 (9th Cir. 2018).
 8         Simply put, qualified immunity is an exacting and "demanding standard."
 9   Wesby, 138 S.Ct. at 589; S. B. v. Cty. of San Diego, 864 F.3d 1010, 1015, 1017
10   (9th Cir. 2017) (hearing the Supreme Court "loud and clear" and recognizing
11   qualified immunity's "exacting standards"); Kirkpatrick v. Cty. of Washoe, 843
12   F.3d 784, 792 (9th Cir. 2016) (en banc) (recognizing qualified immunity's
13   “exacting standards”); see also Keates v. Koile, 883 F.3d 1228, 1234-1235 (9th
14   Cir. 2018) (“[D]efendants are entitled to qualified immunity so long as their
15   conduct does not violate clearly established statutory or constitutional rights of
16   which a reasonable person would have known. The Supreme Court has
17   emphasized that this is a low bar ….); Kuhlken v. Cty. of San Diego, 2018 WL
18   454444, at *11 (S.D. Cal. Jan. 16, 2018) (Bashant, J.) (noting White's "exacting
19   standard" requires "clear notice" to the officer and observing that "[w]hile 'no
20   two cases are exactly alike' and the Court is not required to find a case 'directly
21   on point,' Plaintiff has not provided any precedent particularized to the facts of
22   this case that would have put Deputy Smith on notice that his conduct was
23   unconstitutional").
24   ///
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 1   A.    Rozier's Fourth Amendment Claims Asserted On Olango's Behalf
 2   1.    Use Of Force Claim
 3   a.    Step One: No Fourth Amendment Violation Because Gonsalves
           Reasonably Believed Olango Posed An Immediate And Serious Threat
 4         Of Death Or Harm
 5         i.      Standard
 6         The Fourth Amendment permits "objectively reasonable" force. Graham v
 7   Connor, 490 U.S. 386, 396-397 (1989). On summary judgment, whether an
 8   officer's use of force was objectively reasonable presents "a pure question of
 9   law." Scott, 550 U.S. at 381 n.8; Plumhoff v. Richard, 134 S.Ct. 2012, 2019
10   (2014). Included in this "pure question of law" is whether a suspect's actions
11   rose to a level warranting deadly force." Scott, 550 U.S. at 384; see Mattos, 661
12   F.3d at 445 (a defiant suspect "bears some responsibility for the escalation" of an
13   incident ultimately resulting in the use of deadly force).
14         "[R]easonableness" is an objective inquiry, examined in light of the facts
15   and circumstances confronting the officer without regard to intent or motivation
16   requir[ing] a careful balancing of the nature and quality of the intrusion on the
17   individual's Fourth Amendment interests against the countervailing governmental
18   interests at stake." Graham, 490 U.S. at 396-397 (quotation marks and citations
19   omitted). "The calculus of reasonableness must embody allowance for the fact
20   that police officers are often forced to make split-second judgments - in
21   circumstances that are tense, uncertain, and rapidly evolving - about the amount
22   of force that is necessary in a particular situation." Id.; Plumhoff, 134 S.Ct. at
23   2020; Ryburn v. Huff, 132 S.Ct. 987, 992 (2012). "[T]he reasonableness of the
24   officer's belief as to the appropriate level of force should be judged from that on-
25   scene perspective" and courts are "cautioned against the '20/20 vision of
26   hindsight' in favor of deference to the judgment of reasonable officers on the
27   scene." Saucier v. Katz, 533 U.S. 194, 205 (2001); see Ryburn, 132 S.Ct. at 992
28   (lower court erred when concluding "[w]ith the benefit of hindsight and calm
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 1   deliberation . . . that it was unreasonable for [the officers] to fear that violence
 2   was imminent"). Indeed, "[j]udges should be cautious about second-guessing a
 3   police officer's assessment, made on the scene, of the danger presented by a
 4   particular situation." Ryburn, 132 S.Ct. at 991-992. Thus, the "peace of a judge's
 5   chambers" cannot color the analysis, Graham, 490 U.S at 396, and courts are
 6   precluded from asking "whether another reasonable, or more reasonable,
 7   interpretation of the events can be constructed . . . after the fact." Hunter v.
 8   Bryant, 502 U.S. 224, 228 (1991) (per curiam). "The Fourth Amendment
 9   standard is reasonableness, and it is reasonable for police to move quickly if
10   delay 'would gravely endanger their lives or the lives of others' [citation] [,] even
11   when, judged with the benefit of hindsight, the officers may have made 'some
12   mistakes.' [Citation]. The Constitution is not blind to 'the fact that police
13   officers are often forced to make split-second judgments.' [Citation]." City and
14   Cty. of San Francisco v. Sheehan, 135 S. Ct. 1765, 1775 (2015).
15         A number of factors are involved in determining whether the force used
16   was objectively reasonable, George v. Morris, 736 F.3d 829, 837 (9th Cir. 2013),
17   but whether the suspect posed an immediate threat to the safety of the officers or
18   others is by far the most important. Id. at 838; Bryan v. MacPherson, 630 F.3d
19   805, 826 (9th Cir. 2010). Accordingly, deadly force is constitutional when the
20   officer reasonably believes a suspect poses a threat of injury or death to the
21   officer or someone else, Brosseau v. Haugen, 543 U.S. 194, 197-198 (2004), "at
22   the moment when the shots were fired." Plumhoff, 134 S.Ct. at 2022; see
23   Gonzalez, 747 F.3d at 794 ("The key issue in this case is whether a reasonable
24   jury would necessarily find that [the officer] perceived an immediate threat of
25   death or serious physical injury at the time he shot [the suspect] in the head.
26   That requires us to consider exactly what was happening when the shot was
27   fired.") (emphasis added).
28   ///
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 1         When an officer reasonably believes an immediate and serious threat
 2   exists, deadly force is constitutionally used without warning and regardless of
 3   potentially less severe alternatives. Hayes v. Cty. of San Diego, 736 F.3d 1223,
 4   1233 (9th Cir. 2013); Scott v. Henrich, 39 F.3d 912, 915 (9th Cir. 1994); see
 5   Wilkinson v. Torres, 610 F.3d 546, 551 (9th Cir. 2010) (A reasonable use of
 6   force "encompasses a range of conduct, and the availability of a less-intrusive
 7   alternative will not render conduct unreasonable."); Lal v. California, 746 F.3d
 8   1112, 1118 (9th Cir. 2014) ("[E]ven assuming that it might have been possible
 9   for the officers to have given [the suspect] a wider berth . . . there is no
10   requirement that such an alternative be explored."). Indeed, "[t]he Constitution
11   simply does not require police to gamble with their lives in the face of serious
12   threat of harm." Elliot v. Leavitt, 99 F.3d 640, 641 (4th Cir. 1996). "[T]he
13   Fourth Amendment does not require a police officer to be omniscient, and
14   absolute certainty of harm need not precede an officer's act of self-protection."
15   Easley, 890 F.3d at 857 (quotation marks, citations and edits omitted); Estate of
16   Larsen v. Murr, 511 F.3d 1255, 1260 (10th Cir. 2008) ("A reasonable officer
17   need not await the 'glint of steel' before taking self-protective action; by then, it is
18   'often . . . too late to take safety precautions.' [Citation]."); see Saucier, 533 U.S.
19   at 205 ("If an officer reasonably, but mistakenly, believed that a suspect was
20   likely to fight back, for instance, the officer would be justified in using more
21   force than in fact was needed."). Moreover, the number of shots an officer fires
22   is irrelevant in a reasonable force analysis. "[I]f police offers are justified in
23   firing at a suspect … the officers need not stop shooting until the threat has
24   ended" and, indeed, "if lethal force is justified, officers are taught to keep
25   shooting until the threat is over." Plumhoff, 134 S.Ct. at 2022; see Wilkinson,
26   610 F.3d at 522 (officers are not constitutionally required to reassess threat after
27   every shot and when "deadly force was authorized … it makes no difference …
28   when [the officer] fired seven rounds or eleven").
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 1         Without dispute, deadly force is "unquestionably reasonable" if a suspect
 2   "reaches for" what is believed to be a weapon or makes some "similar
 3   threatening gesture," like getting into a “shooter’s stance.” Cruz v. City of
 4   Anaheim, 765 F.3d 1076, 1079 (9th Cir. 2014); see Longoria v. Pinal Cty., 873
 5   F.3d 699, 706-707 (9th Cir. 2017) ("The most important question in this case is
 6   whether Rankin reasonably perceived that Longoria assumed a threating or
 7   'shooter’s stance.' 'If [he] did, [he] w[as] entitled to shoot; if [he] didn’t, [he]
 8   [was]n't.' [Citation].") (emphasis added); Cruz, 765 F.3d at 1078 (police would
 9   be justified in shooting suspect behaving "dangerous[ly] and erratic[ally]" who
10   reached for his waistband); George, 736 F.3d at 838 ("If the person is . . .
11   reasonably suspected of being armed . . . a furtive movement [or] harrowing
12   gesture . . . might create an immediate threat."); Garcia v. United States, 2018
13   WL 1448744, at *4 (C.D. Cal. Mar. 23, 2018) (Citing George for proposition
14   that "[t]he reasonableness inquiry does not require an officer to have delayed
15   their fire until a suspect turns a weapon on them" and concluding "[u]nder this
16   standard, when an officer reasonably believes that a suspect is about to draw a
17   firearm and shoot the officer or another person, the officer's decision to use
18   deadly force on the suspect is not unreasonable."); Estate of Elkins v. California
19   Highway Patrol, 2016 WL 3648944, at *9 (E.D. Cal. July 7, 2016) (Citing
20   George and Cruz for the proposition that "it is not necessary that an officer's
21   suspicion that a suspect has a gun be correct, as long as the officer reasonably
22   perceived a sufficient threat"); see also Pollard v. City of Columbus, 780 F.3d
23   395, 404 (6th Cir. 2015) ("If Bynum had a gun, as the officers reasonably
24   thought he did, they were at risk of serious injury or death and thus could
25   reasonably consider Bynum a threat.").
26          ii.   Analysis
27         Here, "the videotape . . . speak[s] for itself," Scott, supra, 550 U.S. at 379
28   n. 5, and is dispositive on what occurred. Id. at 378-380. But there is more. The
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 1   testimony of the officers and witnesses conclusively proves Olango – acting
 2   erratically and refusing repeated commands to remove his hand from his pocket
 3   where a visible bulge existed – suddenly and rapidly removed his right hand
 4   from his pocket, extended his arms forward, got into a "shooting stance", and
 5   pointed an object in his hand with a metal barrel directly at Gonsalves. Olango's
 6   threatening actions required Gonsalves' immediate use of deadly force to prevent
 7   what Gonsalves reasonably believed was an imminent threat to his life. Indeed,
 8   Gonsalves, McDaniel and all independent witnesses believed Olango was
 9   pointing a gun directly at Gonsalves.
10         Under the facts here, Gonsalves' use of force did not violate the Fourth
11   Amendment because every reasonable officer would have feared injury or death
12   and believed deadly force was necessary to eliminate that imminent threat. See
13   Longoria, 873 F.3d at 706-707 (observing officer entitled to use deadly force if
14   suspect confronts officer in a "shooting stance"); Easley, 890 F.3d at 857 ("[The
15   officer's] use of deadly force was objectively reasonable. It is an undisputed fact
16   that [the officer] was concerned about the presence of a gun…. [The suspect]
17   pulled an object from his right pants' pocket with his left hand and threw it away
18   from his body. [The officer] shot [the suspect] within two to four seconds of the
19   object leaving [his] hand. [The suspect]… threw the gun in a motion similar to
20   throwing a Frisbee across his body; this would necessarily involve some upper
21   body or shoulder movement. Based on these undisputed facts, a reasonable
22   officer may have reasonably feared that [the suspect] had a gun and was turning
23   to shoot him.").
24         Rozier (and Abuka) might argue Gonsalves' use of deadly force was
25   unreasonable because Olango did not actually have a gun, but the argument
26   would be entirely meritless for two reasons.
27         First, it is irrelevant that Olango did not actually have a gun because
28   Gonsalves did not know this at the moment he fired. Graham, 490 U.S. at 396
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 1   (reasonableness determined without "20/20 hindsight"); Hayes, 736 F.3d at
 2   1232-1233 ("[W]e can only consider the circumstances of which Deputies King
 3   and Geer were aware when they employed deadly force."); Sherrod v. Berry, 856
 4   F.2d 802, 805 (7th Cir. 1988) ("Knowledge of facts and circumstances gained
 5   after the fact (that the suspect was unarmed) has no place in the trial court's or
 6   jury's proper post-hoc analysis of the reasonableness of the actor's judgment.");
 7   see Cruz, 765 F.3d at 1078, 1079 n.3 ("[T]he fact that Cruz did not have a gun on
 8   him normally wouldn't factor into the reasonableness analysis because the
 9   officers couldn't know what was (or wasn't) underneath Cruz's waistband.");
10   Wilkinson, 610 F.3d at 551 (explaining that "the critical inquiry is what [the
11   officer] perceived"); see also United States v. Martinez-Jimenez, 864 F.2d 664,
12   668 (9th Cir. 1989) ("[Officer] must confront the risk that a replica or simulated
13   gun creates before knowing that it presents no actual threat.").
14         Second, the argument necessarily ignores that Olango had something in his
15   hand that looked like a gun, and he most certainly acted as if he had a gun by
16   assuming a "shooting stance", pointing the "vape" barrel directly at Gonsalves
17   while mimicking the recoil of a gun. See Longoria, 873 F.3d at 706-707
18   (observing officer entitled to use deadly force if suspect confronts officer in a
19   "shooting stance"); (deadly force reasonable based on "furtive movement [or]
20   harrowing gesture" ); George, 736 F.3d at 838; Easley, 890 F.3d at 857.
21         Indeed, a significant and uniform body of case law from the Ninth Circuit
22   and elsewhere, including a decision by this Court, establishes the reasonableness
23   of Gonsalves' use of deadly force is not extinguished or even diminished simply
24   because it turned out Olango had a "vape" in his hand and not a gun. E.g.
25   Rodriguez v. Swartz, 899 F.3d 719, 732-733 (9th Cir., 2018) ("[I]f a police
26   officer shot a suspect after the suspect brandished what looked like a gun, the
27   officer's reasonable perception that the suspect was armed would entitle the
28   officer to qualified immunity – even if the 'gun' turned out to be a cell phone.");
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 1   Corrales v. Impastato, 650 F. App'x 540, 541 (9th Cir. 2016) (deadly force
 2   objectively reasonable under the Fourth Amendment when unarmed suspect
 3   "pull[ed] his previously concealed hand from his waistband and form[ed] it into a
 4   fist with a single, hooked finger extended"); Barnes v. City of Pasadena, 508 F.
 5   App'x 663, 665 (9th Cir. 2013) ("[E]ven if an issue of fact existed about the
 6   presence of a gun, the determinative issue was whether the officers reasonably
 7   believed Barnes had a gun and posed an immediate threat to safety. The record
 8   indicated that they did. The enhanced still photos from the patrol car video
 9   undisputedly show something in Barnes' hand, and Plaintiffs pointed to no
10   evidence suggesting that the officers did not believe, or should not have believed,
11   it to be a gun. In light of that belief, the officers used deadly force to ensure their
12   safety. No evidence suggested any other purpose."); Nehad v. Zimmerman, 2017
13   WL 6453475, at *6-7 (S.D. Cal. Dec. 18, 2017) (deadly force reasonable under
14   the Fourth Amendment when suspect was advancing toward officer with a
15   metallic pen in his hand that officer believed was a knife); Elvira v. City of
16   Escondido, 2016 WL 5719825, at *7-10 (S.D. Cal. Sept. 30, 2016) (Bashant, J.)
17   (officer's use of deadly force did not violate Fourth Amendment when suspect
18   with his hand under his sweatshirt is believed to have a knife makes a
19   "'threatening movement' with his hand" whether or not officer's perception that
20   suspect was removing a knife was in fact correct); Bowles v. City of Porterville,
21   2012 WL 1898911, at *1-3, 9 (E.D. Cal. May 23, 2012) (officers use of deadly
22   force did not violate the Fourth Amendment when suspect turned toward officer
23   with his hands extended in front of him and holding a shiny metallic and
24   cylindric object that turned out to be a cologne bottle but officer believed was a
25   gun), aff'd, 571 F. App'x 538, 539 (9th Cir. 2014) ("We affirm because the
26   totality of the circumstances confirms that McGuire reasonably feared that
27   Bowles was about to shoot him"); Arian v. City of Los Angeles, 2013 WL
28   12081081, at *2-3 (C.D. Cal. Apr. 30, 2013) (although suspect was only holding
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                                                      3:17-cv-0089-BAS-NLS (consolidated with
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 1   a cell phone, officer did not violate Fourth Amendment and was justified in using
 2   deadly force because suspect "turned towards Officers . . . and extended his arms
 3   outward toward them" holding "a small dark object in his hands [ ] pointed in
 4   the direction of Officers" because video footage established "no reasonable juror
 5   could find that [suspect's] stance did not resemble that of an individual preparing
 6   to fire a gun."), aff'd, 622 F. App'x 692, 692 (9th Cir. 2015) ("Arian repeatedly
 7   pointed an object that resembled a weapon towards police officers, and the
 8   officers had' probable cause to believe' that Arian 'pose[d] a significant threat of
 9   death or serious physical injury' to the officers or to the civilians at the scene.");
10   Hammett v. Paulding Cty., 875 F.3d 1036, 1051-0152 (11th Cir. 2017) ("After
11   refusing to show his hands, [the suspect] moved aggressively toward [the officer]
12   and raised his hands rapidly toward [the officer's] face. 'Non-compliance of this
13   sort supports the conclusion that use of deadly force was reasonable' [Citation].
14   We acknowledge that here … it turned out that [the suspect] was not armed with
15   a deadly weapon. Nevertheless, we must view the situation from the perspective
16   of a reasonable officer in [the officers'] position."); Pollard, 780 F.3d at 400,
17   402-403 (deadly force objectively reasonable under the Fourth Amendment
18   where suspect unarmed but "extended his arms and clasped [] his hands into a
19   shooting posture, [and] pointed at the officers"); Simmonds v. Genesee Cty., 682
20   F.3d 438, 445 (6th Cir. 2012) ("Although 20/20 hindsight now informs us that
21   Kevin was unarmed at the time" he was "brandishing a silver object, and pointing
22   it at the officers" so "all of the information available to the officers at the time
23   they used force constituted probable cause that Kevin 'pose[d] a threat of serious
24   physical harm ….' [Citation]."); Lamont v. New Jersey, 637 F.3d 177, 179, 183
25   (3rd Cir. 2011) (no Fourth Amendment violation because officers justified in
26   using deadly force when suspect suddenly pulled his right hand out of his
27   waistband with an object as if drawing a weapon even though object turned out
28   to be a crack pipe); Slattery v. Rizzo, 939 F.2d 213, 215-216 (4th Cir. 1991) (no
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                                                       3:17-cv-0089-BAS-NLS (consolidated with
                                                       Case No. 3:17-cv-00347-BAS-NLS)
 1   Fourth Amendment violation because officer justified in using deadly force when
 2   officer mistook beer bottle in the suspect's hands for a weapon); Hudspeth v. City
 3   of Shreveport, 2006 WL 3747446, at *3, 9-10, 12, 15 (W.D. La. Dec. 18, 2006)
 4   (no fourth amendment violation because officers justified in using deadly force
 5   when suspect "brought up both hands with both arms extended in front of him in
 6   a universally recognizable shooting stance" "while holding a small silver colored
 7   object in his hands" even though object turned out to be a cell phone), aff'd, 270
 8   F. App'x 332, 337 (5th Cir. 2008) ("The Officers had an articulable basis to
 9   believe [suspect] was armed and could reasonably have perceived him as posing
10   a threat of serious bodily harm."); Hill v. Witt, 2010 WL 2902246, at *1, 3-5
11   (N.D. Okla. July 22, 2010) (deadly force justified under the Fourth Amendment
12   when suspect "turned quickly toward the officers" and "swung his arm holding
13   [a] 'black' object up" that turned out to be a cell phone); Little v. Smith, 114 F.
14   Supp. 2d 437, 444-445 (W.D.N.C. 2000) (using deadly force justified under
15   Fourth Amendment when suspect with an object in his hands took a "shooting
16   stance" and pointed the object at the officer although object turned out to be a
17   dumbbell).
18         Rozier (and Abuko) might argue Olango was mentally ill. Assuming that
19   can be proved, any mental impairment Olango may have had does not render
20   Gonsalves' use of deadly force objectively unreasonable under the facts of this
21   case. See Sheehan, 135 S.Ct. at 1778 (noting consensus of cases hold that
22   officers not required to treat mentally ill suspects differently). The Ninth Circuit
23   has "refused to create two tracks of excessive force analysis, one for the mentally
24   ill and one for serious criminals." Bryan, 630 F.3d at 829; Deorle v. Rutherford,
25   272 F.3d 1272, 1283 (9th Cir. 2001) ("We do not adopt a per se rule establishing
26   two different classifications of suspects: mentally disabled persons and serious
27   criminals."). Where, as here, "in the midst of a rapidly escalating situation, the
28   officers cannot be faulted for failing to diagnose [a mental condition]. Indeed,
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 1   the volatile nature of a situation may make a pause for psychiatric diagnosis
 2   impractical and even dangerous." Bates v. Chesterfield Cty., 216 F.3d 367, 372
 3   (4th Cir. 2000). The reality is that "[k]nowledge of a person's disability simply
 4   cannot foreclose officers from protecting themselves . . . when faced with
 5   threatening conduct by the disabled individual." Id.; see Hayek v. City of St.
 6   Paul, 488 F.3d 1049, 1055 (8th Cir. 2007) ("Even if William were mentally ill,
 7   and the officers knew it, William's mental state does not change the fact he posed
 8   a deadly threat to the officers.").
 9         Finally, Rozier (and Abuka) might argue Gonsalves used "bad tactics",
10   violated training, policy or procedure, or "provoked" Olango into the conduct
11   necessitating the use of deadly force. The argument is legally invalid. As the
12   Supreme Court said in Sheehan: "[E]ven if an officer acts contrary to her
13   training, however, ... a plaintiff cannot 'avoi[d] summary judgment by simply
14   producing an expert's report that an officer's conduct leading up to a deadly
15   confrontation was imprudent, inappropriate, or even reckless.' [Citation]; Cf.
16   Saucier v. Katz, 533 U.S. 194, 216, n. 6, 121 S.Ct. 2151, 150 L.Ed.2d 272 (2001)
17   (GINSBURG, J., concurring in judgment) ('[I]n close cases, a jury does not
18   automatically get to second-guess these life and death decisions, even though a
19   plaintiff has an expert and a plausible claim that the situation could better have
20   been handled differently' [Citation].)" 135 S. Ct. at 1777; see George v. Morris,
21   736 F.3d 829, 839 n. 14 (9th Cir. 2013) (irrelevant in a Fourth Amendment
22   reasonableness analysis whether officer's conduct leading up to a deadly
23   confrontation was "imprudent, inappropriate, or even reckless"). Further, the
24   Supreme Court rejected the "provocation doctrine" in Cty. of Los Angeles v.
25   Mendez, 137 S.Ct. 1539 (2017), holding that a reasonable use of force cannot
26   become unreasonable because the officer's conduct preceding the use of force
27   created a situation necessitating the use of force even if the prior conduct itself
28   violated the Fourth Amendment. Id. at 1543, 1544, 1546-1547; Isayeva v.
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 1   Sacramento Sheriff’s Dep't, 872 F.3d 938, 951 (9th Cir. 2017) ("At oral
 2   argument, Isayeva's counsel stated that she was also proceeding on a 'provation
 3   theory' of liability. The Supreme Court recently held that the Fourth Amendment
 4   provides no basis for such a theory. [Citation]."); Estate of Serrano v. Trieu, 713
 5   F. App'x 631, 632 (9th Cir. 2018) ("Deputy Trieu is not liable based on events
 6   antecedent to the shooting. The Supreme Court rejected this court's provation
 7   doctrine in [Mendez]."); Knox v. City of Fresno, 708 F. App'x 321, 323 (9th Cir.
 8   2017) (citing Mendez for proposition that in an excessive force analysis "[t]he
 9   reasonableness of the officer's prior actions and decisions are not to be taken into
10   account"); Burns v. City of Concord, 2017 WL 5751407, at *10 (N.D. Cal. Nov.
11   28, 2017) ("As the Supreme Court had recently clarified, an excessive-force
12   claim cannot be based on a 'provocation' theory that police officers committed
13   other Fourth Amendment violations prior to the use of force that escalated the
14   situation and thereby provoked a violent confrontation that resulted in the use of
15   force.").
16          Finally, Rozier (and Abuka) may argue that deadly force is not appropriate
17   to achieve compliance with the command to remove Olango’s right hand from
18   his pocket. Such an argument fails badly because there is zero evidence to
19   suggest Gonsalves was going to use any force to gain compliance. Gonsalves
20   only used used force after Olango took the shooting stance.
21   b.     Step Two: No Clearly Established Law Existed On September 27,
            2016 Telling All Reasonable Officers That Deadly Force Under The
22          Facts Of This Case Would Violate The Fourth Amendment
23          It is Rozier's burden to show clearly established law. Shafer v. Cty. of Santa
24   Barbara, 868 F.3d 1110, 1118 (9th Cir. 2017).
25          Rozier bears a heavy burden. This is not a rare case involving obviously
26   unconstitutional misconduct, and Rozier cannot establish otherwise. See Mattos,
27   661 F.3d at 442 ("the bar for finding such obviousness is quite high"). Indeed,
28   "[t]his is far from an obvious case in which any competent officer would have
                                              26
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 1   known that shooting [Olango] to protect [himself] would violate" a constitutional
 2   right. Kisela, 138 S. Ct. at 1153.
 3         Because this is not an obvious case of unconstitutional conduct, "[Rozier]
 4   must 'identify a case where an officer acting under similar circumstances as
 5   [Gonsalves] was held to have violated the Fourth Amendment.' [Citation].”
 6   Sharp v. Cty. of Orange, 871 F.3d. 901, 911 (9th Cir. 2017); but see Horstman v.
 7   City of Hillsboro, 2018 WL 1736046, at *1 (9th Cir. Apr. 11, 2018) (unpub.)
 8   ("[T]he Supreme Court has recently cautioned against the 'reli[ance] on a single
 9   decision' in determining whether a constitutional right was clearly established by
10   'settled law.' See District of Columbia v. Wesby, [ ] 138 S.Ct. 577, 591, [ ]
11   (2018).”)
12         "In other words, [Rozier] must point to prior case law that articulates a
13   constitutional rule specific enough to alert [Gonsalves] in this case that [his]
14   particular conduct was unlawful." Sharp, 871 F.3d at 911. "To achieve that
15   kind of notice, the prior precedent must be controlling-from the Ninth Circuit or
16   Supreme Court-or otherwise be embraced by a consensus of courts outside the
17   relevant jurisdiction."9 Id.; Shafer, 868 F.3d at 1117 ("We are mindful of the
18   Supreme Court's pronouncement in White v. Pauly that, to satisfy this step in the
19   qualified immunity analysis, we generally must 'identify a case where an officer
20   acting under similar circumstances as [the officer] was held to have violated the
21   Fourth Amendment'.").
22         A proper "clearly established" analysis requires "defin[ing] the law at issue
23   in a concrete, particularized manner." Felarca, 891 F.3d at 822; Shafer, 868 F.3d
24   at 1117. As the Supreme Court very recently reiterated:
25                '[S]pecificity is especially important in the Fourth
                  Amendment context, where the Court has recognized that
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     9
27
      For purposes of this motion only, defendants accept that Ninth Circuit decisions
     can constitute clearly established law. See Kisela, 138 S. Ct. at 1153 ("[E]ven if
28
     a controlling circuit precedent could constitute clearly established law in these
     circumstances, it does not do so here.").
                                               27
                                                     3:17-cv-0089-BAS-NLS (consolidated with
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 1                it is sometimes difficult for an officer to determine how
                  the relevant legal doctrine, here excessive force, will apply
 2                to the factual situation the officer confronts.' [Citation].
                  Use of excessive force is an area of the law 'in which the
 3                result depends very much on the facts of each case,' and
                  thus police officers are entitled to qualified immunity
 4                unless existing precedent 'squarely governs' the specific
                  facts at issue. [Citation].
 5

 6   Kisela, 138 S.Ct. at 1152; Wesby, 138 S.Ct. at 590; see Ames v. King Cty., 846
 7   F.3d 340, 347 (9th Cir. 2017) ("[F]actual specificity is especially important in the
 8   Fourth Amendment context.") (quotation marks and citations omitted).
 9         Accordingly, Rozier must cite a Supreme Court or Ninth Circuit case - or a
10   series of cases from other courts placing the matter beyond debate - holding that
11   an officer violates the Fourth Amendment when the officer shoots an erratically
12   acting suspect that repeatedly ignored commands to remove his hand from
13   pocket where a visible bulge exists after the suspect suddenly removes his hand
14   from his pocket, gets into a shooter's stance and points an object resembling a
15   gun with a visible metal barrel directly at the officer. See e.g., Felarca, 891 F.3d
16   at 822. ("We define the law at issue here as follows: whether an officer violates
17   clearly established law when, after several warnings to disperse have been given,
18   the officer uses baton strikes on a plaintiff's torso or extremities for the purpose
19   of moving a crowd actively obstructing the officer from carrying out lawful
20   orders in a challenging environment. To meet their burden, plaintiffs must
21   generally identify a case where an officer acting under similar circumstances was
22   held to have violated the Fourth Amendment."); Shafer, 868 F.3d at 1117
23   ("Defined at an appropriate level of specificity, the question at hand is whether
24   an officer violates clearly established law when he progressively increases his
25   use of force from verbal commands, to an arm grab, and then a leg sweep
26   maneuver, when a misdemeanant refuses to comply with the officer's orders and
27   resists, obstructs, or delays the officer in his lawful performance of duties such
28   that the officer has probable cause to arrest him in a challenging environment.").
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 1         Rozier cannot meet her burden because no court has ever held that the use
 2   of deadly force under the specific facts of this case violates a suspect's Fourth
 3   Amendment rights. Thus, no clearly established law existed on September 27,
 4   2016, that would allow this Court to conclude only an incompetent officer or one
 5   knowingly violating the law would have acted as Gonsalves did under the
 6   specific facts and circumstances of this case. See Nehad, 2017 WL 6453475, at
 7   *8-10 (not clearly established in August 2015 that it would violate the Fourth
 8   Amendment to use deadly force against an approaching suspect holding and
 9   refusing to drop a metal object in his hand that officer believed was a gun but
10   turned out to be a pen).
11   2.    Detention Based Claim
12   a.    Step One: No Pre-Shooting Detention In Violation Of The Fourth
           Amendment
13

14         Rozier alleges Gonsalves "contacted" Olango, and "violently confronted"
15   him "by approaching" Olango "with his firearm drawn and detaining [him] at
16   gunpoint." No. 17-cv-00347, Doc. No. 5, p.10, ¶ 5. Despite this being factually
17   wrong, it appears Rozier makes a pre-shooting seizure claim.
18         "The Fourth Amendment applies to all seizures of the person, including
19   seizures that involve only a brief detention short of traditional arrest." United
20   States v. Brignoni-Ponce, 422 U.S. 873, 878 (1975). A Fourth Amendment
21   seizure occurs "when the officer, by means of physical force or show of
22   authority, terminates or restrains [a person's] freedom of movement, through
23   means intentionally applied." Brendlin v. California, 551 U.S. 249, 254 (2007)
24   (citations omitted). A seizure short of arrest is a detention, requiring reasonable
25   suspicion of a committed or impending crime, that a person is armed, or the
26   person presents a danger. Terry v. Ohio, 392 U.S. 1, 27 (1968); United States v.
27   Charley, 396 F.3d 1074, 1079 (9th Cir. 2005).
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                                               29
                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1         Gonsalves did not seize Olango when he initially approached him. A
 2   seizure "does not occur simply because a police officer approaches an individual
 3   and asks a few questions." Florida v. Bostick, 501 U.S. 429, 434 (1991). A
 4   seizure occurs only when a reasonable person would believe he was not free to
 5   leave and there is "some form of 'touching or submission.'" United States v.
 6   McClendon, 713 F.3d 1211, 1215 (9th Cir. 2013) (quoting California v. Hodari
 7   D., 499 U.S. 621, 626-628 (1991); United States v. Smith, 633 F.3d 889, 892-893
 8   (9th Cir. 2011) ("In the absence of physical force, in order to constitute a seizure,
 9   an officer's show of authority must be accompanied by 'submission to the
10   assertion of authority.'") (quoting California v. Hodari D., 499 U.S. 621, 626
11   (1991). Gonsalves never touched Olango, Gonsalves Depo., p. 97:11-20, and at
12   no time did Olango submit to Gonsalves' authority as he steadfastly ignored
13   Gonsalves' commands to remove his hand from his pocket and continually
14   walked away. McClendon, 713 F.3d at 1215-1217 (no seizure when individual
15   "was ordered at gunpoint to stop and put up his hands" but instead "turned and
16   walked away, not raising his hands").
17         Even assuming a seizure, Gonsalves had reasonable suspicion to believe
18   Olango committed a crime when he refused to remove his hand from his pocket.
19   Smith v. City of Hemet, 394 F.3d 689, 697 (9th Cir. 2005) (en banc) (refusing to
20   comply with orders to remove hands from pockets constitutes a violation of
21   California Penal Code § 148(a)(1)). Gonsalves also had reasonable suspicion to
22   believe Olango was armed, given the observable bulge in Olango's pocket,
23   Olango's refusal to remove his hand from the pocket, and his erratic and evasive
24   movements. United States v. Edwards, 761 F.3d 977, 981–982 (9th Cir. 2014)
25   (officers had reasonably suspicion to detain suspect by pointing weapons at him
26   when they had reasonable suspicion that he was armed); United States v. Flatter,
27   456 F.3d 1154, 1157-1158 (9th Cir. 2006) ("Our prior cases have identified a
28   wide variety of factors that can support a reasonable belief that an individual is
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                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1   armed. For example, we have given significant weight to an officer's observation
 2   of a visible bulge in an individual's clothing that could indicate the presence of a
 3   weapon. [Citations] We have also considered sudden movements by defendants,
 4   or repeated attempts to reach for an object that was not immediately visible, as
 5   actions that can give rise to a reasonable suspicion that a defendant is armed.");
 6   see also Illinois v. Wardlow, 528 U.S. 119, 124 (2000) ("[N]ervous, evasive
 7   behavior is a pertinent factor in determining reasonable suspicion.").
 8   b.    Step Two: No Clearly Established Law Existed On September 27,
           2016 Telling All Reasonable Officers That Any Pre-Shooting
 9         Detention Violated The Fourth Amendment Violation
10         No case existed as of September 27, 2016, putting all reasonable officers
11   on notice that what Gonsalves did, under the specific facts of this case,
12   constituted a detention of Olango in violation of the Fourth Amendment.
13   B.    Abuka's Fourteenth Amendment Claims10
14   1.    Step One: No Fourteenth Amendment Violation Because No
           Underlying Fourth Amendment Violation And No Conscience
15         Shocking Conduct
16         The parent of a person killed by police can assert a Fourteenth
17   Amendment substantive due process claim for the loss of familial association.
18   Wilkinson, 610 F.3d at 554. Because substantive due process is not a "font of
19   tort law to be superimposed upon whatever systems may already be administered
20   by the States," Cty. of Sacramento v. Lewis, 523 U.S. 833, 848 (1998), a parent
21   maintaining such a claim bears the onerous burden of establishing the officer's
22   conduct "shocked the conscience." Id. at 846-848.
23         Negligent conduct does not shock the conscience. Lewis, 523 U.S. at 849.
24   Nor does conduct constituting a "conscience disregard" for one's life. Moreland
25

26
     10
       Although Abuka’s claims are expressly based on the Fourteenth Amendment,
     No. 17-cv-00089, Doc. No. 6, ¶¶ 29, 38, his complaint does mention the First
27
     Amendment. Id. at ¶2. This stray reference does not allege a First Amendment
     based interference with familial association claim. But even if it did, the analysis
28
     is the same as the Fourteenth Amendment claim. Kaur v. City of Lodi, 263
     F.Supp. 947, 973-974 (E.D. Cal. 2017).
                                              31
                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1   v. Las Vegas Metro. Police Dep't, 159 F.3d 365, 372 (9th Cir. 1998). Indeed,
 2   "only the most egregious official conduct" is conscience shocking and
 3   conscience shocking conduct is only that conduct violating the "decencies of
 4   civilized conduct." Lewis, 523 U.S. at 846. The "shocks the conscience"
 5   standard describes conduct that is "so 'brutal' and 'offensive' that it does not
 6   comport with traditional ideas of fair play and decency." Breithaupt v. Abram,
 7   352 U.S. 432, 435 (1957); see, e.g., Zion v. Cty. of Orange, 874 F.3d 1072, 1077
 8   (9th Cir. 2017) ("head-stomping a suspect curled up in the fetal position” "is
 9   exactly the kind of 'brutal conduct the Due Process Clause protects against" as it
10   'is bound to offend even hardened sensibilities.'")
11         "In determining whether excessive force shocks the conscience, the court
12   must first ask 'whether the circumstances are such that actual deliberation [by the
13   officer] is practical.' [Citation]." Wilkinson, 610 F.3d at 554. Where time exists
14   for actual deliberation, "deliberate indifference" may suffice to shock the
15   conscience. Zion, 874 F.3d at 1077. But in fast paced situations where an officer
16   makes "snap judgments" in reaction to rapidly changing circumstances, an
17   officer's conduct is not conscience shocking unless the officer acts with a
18   purpose to harm unrelated to legitimate law enforcement objectives. Id.;
19   Gonzalez, 747 F.3d at 797; Hayes, 736 F.3d at 1230; Wilkinson, 610 F.3d at 554;
20   Elvira, 2016 WL 5719825, at *13 (Bashant, J). In the later, Fourteenth
21   Amendment liability exists only in the "rare situations" where "the officer
22   intended to harm, terrorize or kill" the suspect without regard for a legitimate law
23   enforcement objective, Porter v. Osborn, 546 F.3d 1131, 1140 (9th Cir. 2008), or
24   where the officer intended "to bully a suspect or get even." Wilkinson, 610 F.3d
25   at 554; see e.g., Zion, 874 F.3d. at 1077.
26   a.    No Underlying Fourth Amendment Violation
27         A Fourteenth Amendment loss of familial association claim requires an
28   underlying violation of the family member's constitutional rights. Gausvik v.
                                            32
                                                      3:17-cv-0089-BAS-NLS (consolidated with
                                                      Case No. 3:17-cv-00347-BAS-NLS)
 1   Perez, 392 F.3d 1006, 1008 (9th Cir. 2004); Schaefer v. Goch, 153 F.3d 793, 799
 2   (7th Cir. 1998); Schwarz v. Lassen Cty., 2013 WL 5425102, at *20-21 (E.D. Cal.
 3   Sept. 27, 2013), affd., 628 Fed. Appx. 527, 528 (9th Cir. 2016); Estate of
 4   Wasilchen v. Gohrman, 870 F. Supp. 2d 1115, 1139 (W.D. Wash. 2012), affd.
 5   539 Fed. Appx. 788 (9th Cir. 2013).
 6           Abuka's Fourteenth Amendment claim is based solely on violations of
 7   Olango's Fourth Amendment rights to be free from excessive force and to receive
 8   adequate medical care. As established ante, Gonsalves did not violate Olango's
 9   Fourth Amendment rights when using deadly force. And as established here,
10   Gonsalves did not violate Olango's Fourth Amendment right to adequate medical
11   care.
12           Medical care claims for those injured by law enforcement at the scene of
13   an incident, like Olango, are governed by the Fourth Amendment. Tatum v. City
14   & Cty. of San Francisco, 441 F.3d 1090, 1098-1099 (9th Cir. 2006). An officer
15   must provide objectively reasonable medical care, and the Fourth Amendment is
16   satisfied when an officer promptly summons medical care for the injured person.
17   Id. at 1099. Here, Gonsalves requested medical care for Olango as soon as he
18   shot him, and medical care was on the scene and providing care to Olango within
19   minutes.
20   b.      Assuming An Underlying Fourth Amendment Violation, No
             Conscience Shocking Conduct Existed Because Gonsalves’ Use Of
21           Force In Fast Paced Circumstances Served The Legitimate Law
             Enforcement Objective Of Self-Protection
22

23           Just over a minute elapsed between Gonsalves' first contact with Olango
24   and the shooting, and a lot happened in that short time. Gonsalves Decl., ¶¶ 7-
25   17; No. 17-cv-00089, ECF No. 6, ¶ 20 (Abuka alleging the incident, from start to
26   finish, lasted less than one minute). And Gonsalves' decision to shoot Olango
27   was most certainly instantaneous. Thus, the purpose to harm standard clearly
28   applies. Porter, 546 F.3d at 1139 (purpose to harm standard applied during five-
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                                                    3:17-cv-0089-BAS-NLS (consolidated with
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 1   minute altercation between the officers and victim evolved quickly and forced
 2   the officers to make "repeated split-second decisions."); Billington v. Smith, 292
 3   F.3d 1177, 1191 (9th Cir. 2001) (150 seconds "is not a comfortably ample
 4   period" for deliberation), abrogated on the grounds, Mendez, supra, 137 S. Ct.
 5   1539; Atkinson v. Cty. of Tulare, 790 F. Supp. 2d 1188, 1208 (E.D. Cal. 2011)
 6   ("Here, the entire incident lasted only a few minutes. Because Detective
 7   Seymour made snap judgments without time for deliberation, his conduct will
 8   only shock the conscience if he acted 'with a purpose to harm unrelated to
 9   legitimate law enforcement objectives.'); see e.g., Elvira, 2016 WL 5719825, at
10   *13 (Bashant, J.) ("Once the situation escalated and Mr. Campos started rushing
11   at Officer Hand, it is undisputed that both Officer Hand and Officer Fuentes 'only
12   had 1-2 seconds to make the decision to shoot.' [Citation]. Therefore, both
13   Officer Hand and Officer Fuentes 'did not have time to deliberate,' and their 'use
14   of force shocks the conscience only if the officers had a 'purpose to harm' [Mr.
15   Campos] for reasons unrelated to legitimate law enforcement objectives.'
16   [Citation].").
17          "The purpose to harm standard is a subjective standard of culpability."
18   A.D. v. California Highway Patrol, 712 F.3d 446, 453 (9th Cir. 2013). "It is the
19   intent to inflict force beyond that which is required by a legitimate law
20   enforcement objective that 'shocks the conscience' and gives rise to liability
21   under § 1983. . . ." Porter, 546 F.3d at 1140. Self-protection is a legitimate law
22   enforcement objective. A.D., 712 F.3d at 454; Moreland, 159 F.3d at 373;
23   Fewell v. California, 2017 WL 6043080, at *6 (C.D. Cal. Apr. 11, 2017).
24          Gonsalves shot Olango because Olango suddenly removed from his pocket
25   what Gonsalves thought was a gun, got into a shooter's stance, and pointed the
26   object directly at him. The evidence therefore conclusively demonstrates that
27   Gonsalves' use of force was not conscience shocking but unquestionably related
28   to the legitimate law enforcement objective of (reflexive) self-protection. A.D.,
                                             34
                                                     3:17-cv-0089-BAS-NLS (consolidated with
                                                     Case No. 3:17-cv-00347-BAS-NLS)
 1   712 F.3d at 454; see also Menjivar v. City of Los Angeles, 2007 WL 4662062, at
 2   *9 (C.D. Cal. July 24, 2007) (“[T]he Ninth Circuit has recognized that
 3   '[r]eflexive conduct in situations demanding immediate law-enforcement
 4   response generally does not constitute conduct that is considered to 'shock the
 5   conscience' within the meaning of the Fourteenth Amendment jurisprudence.'
 6   Parker v. City of Pomona, 67 Fed. Appx. 1001, 1001 (9th Cir. June 3, 2003)
 7   (Unpub.Disp.).").
 8         Moreover, Gonsalves did not know Olango, harbored no ill will toward
 9   him, and did not use deadly force to get even with Olango for anything.
10   Gonsalves Decl., ¶ 20. And Abuka certainly cannot present any evidence of a
11   motive by Gonsalves for shooting Olango other than self-protection. See
12   Gonzalez, 747 F.3d at 797-798 (affirming summary judgment on Fourteenth
13   Amendment claim because plaintiffs produced no evidence of ulterior motives
14   underlying use of force); Hayes, 736 F.3d at 1230-1231 (affirming summary
15   judgment on Fourteenth Amendment claim because there was no evidence that
16   the deputies fired their weapons for any purpose other than self-defense).
17         Finally, numerous cases established that the fact Olango was holding a
18   "vape" and not an actual weapon does not alter the conclusion that Gonsalves'
19   use of deadly force was related to a legitimate law enforcement objective. E.g.,
20   Elvira, 2016 WL 5719825, at *7-10, 14 (Bashant, J.) (no Fourteenth Amendment
21   violation; officer's use of deadly force related to legitimate law enforcement
22   objective when suspect with his hand under his sweatshirt believed to have a
23   knife makes a "'threatening movement' with his hand" whether or not officer's
24   perception that suspect was removing a knife was in fact correct); Centeno v.
25   City of Fresno, 2017 WL 3730400, at *1-3, 9-10 (E.D. Cal. Aug. 30, 2017) (no
26   Fourteenth Amendment violation resulting from officer's use of deadly force; use
27   of deadly force related to a legitimate law enforcement objective when officer
28   mistakenly believed a black plastic spray nozzle was a weapon); Bowles, 2012
                                              35
                                                    3:17-cv-0089-BAS-NLS (consolidated with
                                                    Case No. 3:17-cv-00347-BAS-NLS)
 1   WL 1898911, at *1-3, 10-11 (no Fourteenth Amendment violation resulting from
 2   officer's use of deadly force; officer's use of force related to a legitimate law
 3   enforcement objective when suspect turned toward officer with his hands
 4   extended in front of him and holding a shiny metallic and cylindric object that
 5   turned out to be a cologne bottle but officer believed was a gun), aff'd, 571 F.
 6   App'x 538, 539 (9th Cir. 2014) ("We affirm because the totality of the
 7   circumstances confirms that McGuire reasonably feared that Bowles was about
 8   to shoot him"); Collender v. City of Brea, 2013 WL 11316942, at *1-2, 9 (C.D.
 9   Cal. Mar. 4, 2013) (no Fourteenth Amendment violation resulting from officer's
10   use of deadly force; officer's use of force related to legitimate law enforcement
11   objective when officer mistakenly believed suspect was pulling weapon from his
12   pants pocket).
13   2.    Step Two: No Clearly Established Law Existed On September 27,
           2016 Telling All Reasonable Officers That Deadly Force Under The
14         Facts Of This Case Would Violate The 14th Amendment
15         It is Abuka's burden to identify a case from the Supreme Court or the
16   Ninth Circuit - or a series of cases from other courts placing the matter beyond
17   debate - holding that an officer violates the 14th Amendment rights of a suspect's
18   family member when the officer shoots an erratically acting suspect that had
19   several times ignored commands to remove his hand from pocket, and then
20   suddenly removes his hand from his pocket, and gets into a shooter's stance,
21   pointing an object resembling a gun with a visible metal barrel directly at the
22   officer. See Felarca, 891 F.3d at 822. Abuka cannot do this because no court
23   has held that the use of deadly force under the particular facts of this case
24   violates the Fourteenth Amendment rights of family members.
25   ///
26   ///
27   ///
28   ///
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                                                      Case No. 3:17-cv-00347-BAS-NLS)
 1                                             V.
 2        SUMMARY JUDGMENT IS APPROPRIATE ON ROZIER'S FAILURE
                     TO TRAIN BASED MONELL CLAIM
 3

 4   A.      No Underlying Fourth Amendment Violation
 5           There is no municipal liability under Monell absent an underlying
 6   constitutional violation. City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986)
 7   (per curium). As discussed ante, Gonsalves’ use of force did not violate
 8   Olango’s Fourth Amendment rights.
 9   B.      Assuming A Fourth Amendment Violation,  No Failure To Train Was
             The Moving Force Behind The Violation11
10

11           The City cannot be vicariously liable for the unconstitutional acts of its
12   employees. Monell, 436 U.S. at 694. Thus, "[p]laintiffs who seek to impose
13   liability on local governments under [section] 1983 must prove that 'action
14   pursuant to official municipal policy' caused their injury." Connick v. Thompson,
15   563 U.S. 51, 60 (2011); City of Canton v. Harris, 489 U.S. 378, 388 (1989)
16   (failure to train must be "the moving force [behind] the constitutional violation").
17   "In limited circumstances, a local government's decision not to train certain
18   employees about their legal duty to avoid violating citizens' rights may rise to the
19   level of an official government policy for purposes of § 1983." Connick, 563
20   U.S. at 61. But "a municipality's culpability for a deprivation of rights is at its
21   most tenuous where a claim turns on a failure to train. [Citation]." Id. The
22   "failure to train … must amount to 'deliberate indifference to the rights of
23   persons with whom the [untrained employees] come into contact.' [Citation]."
24   Id.; City of Canton, 489 U.S. at 388. "'[D]eliberate indifference' is a stringent
25   standard of fault, requiring proof that a municipal actor disregarded a known or
26
27
      Failure to train is the sole basis on which Rozier seeks to hold the City liable
     11

28   under Monell.
                                               37
                                                      3:17-cv-0089-BAS-NLS (consolidated with
                                                      Case No. 3:17-cv-00347-BAS-NLS)
 1   obvious consequence of his action.' [Citation]." Connick, 563 U.S. at 61; City of
 2   Canton 489 U.S. at 390 (municipal liability exists "where – and only where – a
 3   deliberate choice to follow a course of action is made from among various
 4   alternatives").
 5          "That a particular officer may be unsatisfactorily trained will not alone
 6   suffice to fasten liability on the city…." City of Canton, 489 U.S. 390-391; see
 7   Dougherty v. City of Covina, 654 F.3d 892, 900-901 (9th Cir. 2011) ("[m]ere
 8   negligence in training or supervision [ ] does not give rise to a Monell claim").
 9   Nor is it sufficient to show isolated or sporadic events attributable to a failure to
10   train. Blankenhorn v. City of Orange, 485 F.3d 463, 464 (9th Cir. 2007); Case v.
11   Kitsap Cnty. Sheriff's Dep’t, 249 F.3d 921, 932 (9th Cir. 2011). Rozier
12   accordingly must prove "the need for more or different training was so obvious,
13   and the inadequacy so likely to result in the violation of constitutional rights, that
14   the policymakers of the city can reasonably be said to have been deliberately
15   indifferent to the need." City of Canton, 489 U.S. at 390; see Hunter v. Cty. of
16   Sacramento, 652 F.3d 1225, 1233 (9th Cir. 2011) (explaining Monell liability
17   cannot be "predicated on isolated or sporadic incidents" and that "[t]he custom
18   must be so 'persistent and widespread' that it constitutes a 'permanent and well
19   settled city policy.'[Citation]").
20          Because the City trains its officers on the use of force, Gonsalves Decl., ¶
21   21; Gonsalves Depo., pp. 16:25-18:18, 24:18-24:19, 29:11-33:6, 48:17-50:21,
22   McDaniel Depo., pp. 15:18-24:2, Rozier must prove a pattern of similar
23   constitutional violations tied to a known training deficiency such that the
24   training, or lack thereof, constitutes the moving force behind the constitutional
25   violation. Connick, 563 U.S. at 62-64; City of Canton, 489 U.S. at 389, 392. She
26   cannot. Rozier's discovery responses demonstrate her inability to prove repeated
27   instances of unconstitutional uses of force caused by deficient training as the
28   responses are devoid of anything other than mere allegations based on
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                                                      3:17-cv-0089-BAS-NLS (consolidated with
                                                      Case No. 3:17-cv-00347-BAS-NLS)
 1   information and belief. Exhs. M-P to Notice of Lod. Indeed, Rozier fails to
 2   identify any other specific instance of unconstitutional force committed by any
 3   City officer. Id.
 4                                            VI.
 5                                     CONCLUSION
 6         This Court should grant Gonsalves and the City summary judgment on
 7   Rozier's and Abuka's claims.
 8         Qualified immunity mandates summary judgment on the Fourth
 9   Amendment based section 1983 claims asserted against Gonsalves by Rozier.
10   Gonsalves' use of force did not violate Olango's Fourth Amendment rights and
11   the law was not so clearly established in September 2016 that all reasonable
12   officers would have known Gonsalves' use of force violated the Fourth
13   Amendment. To the extent that Rozier makes a pre-shooting detention based
14   Fourth Amendment claim, it fails because Gonsalves' conduct did not violate the
15   Fourth Amendment and no clearly established law existed at the time
16   demonstrating any unconstitutional conduct. Summary judgment for the City on
17   Rozier's failure to train based Monell claim is proper because there was no
18   underlying violation of Olango's Fourth Amendment rights and there is no
19   evidence establishing any problems with the City’s training, much less evidence
20   establishing the City was deliberately indifferent to the rights of citizens.
21         Qualified immunity also mandates summary judgment on Abuka's
22   Fourteenth Amendment claim because Gonsalves' use of force did not violate
23   Olango's Fourth Amendment rights and Gonsalves did not violate Olango's
24   Fourth Amendment right to adequate medical care. Moreover, the evidence
25   establishes that Gonsalves had no intent to harm Olango unrelated to the
26   legitimate law enforcement objective of self-protection. Further, no clearly
27   established law existed in September 2016, that would have put all reasonable
28   ///
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                                                      3:17-cv-0089-BAS-NLS (consolidated with
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 1   officers on notice that Gonsalves' conduct violated Abuka's Fourteenth
 2   Amendment rights.
 3                                         Respectfully submitted,
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     Dated: October 1, 2018                  Daley & Heft, LLP
 5

 6
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